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                            UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF NEW YORK


IVAN ANTONYUK, COREY JOHNSON,
ALFRED TERRILLE, JOSEPH MANN,
LESLIE LEMAN, and LAWRENCE SLOANE,

                              Plaintiffs,

        v.
                                                                  Civil Action No.: 1:22-cv-986
KATHLEEN HOCHUL, in her Official Capacity as                              (GTS/CFH)
Governor of the State of New York, KEVIN P. BRUEN, in
his Official Capacity as Superintendent of the New York
State Police, Judge MATTHEW J. DORAN, in his Official
Capacity as the Licensing-official of Onondaga County,
WILLIAM FITZPATRICK, in his Official Capacity as the
Onondaga County District Attorney, EUGENE CONWAY,
in his Official Capacity as the Sheriff of Onondaga County,
JOSEPH CECILE, in his Official Capacity as the Chief of
Police of Syracuse, P. DAVID SOARES in his Official
Capacity as the District Attorney of Albany County,
GREGORY OAKES, In his Official Capacity as the District
Attorney of Oswego County, DON HILTON, in his Official
Capacity as the Sheriff of Oswego County, and JOSEPH
STANZIONE, in his Official Capacity as the District
Attorney of Greene County,
                                Defendants.

      MEMORANDUM OF LAW IN OPPOSITION TO PLAINTIFFS’ MOTION FOR
                     PRELIMINARY INJUNCTION

                                                              Susan R. Katzoff, Esq.
                                                              Corporation Counsel
                                                              Counsel for Chief of Police Joseph Cecile
                                                              300 City Hall
                                                              Syracuse, New York 13202
                                                              (315) 448-8400
By:     Todd M. Long, Esq.
        Senior Assistant Corporation Counsel

        Danielle R. Smith, Esq.
        Assistant Corporation Counsel
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                                PRELIMINARY STATEMENT

        Pursuant to Federal Rules of Civil Procedure 65, this memorandum of law is submitted on

behalf of Defendant Joseph Cecile in his official capacity as Chief of Police (“Chief Cecile”) for

the City of Syracuse (“City”) Police Department (“SPD”), in support of his Opposition to

Plaintiffs’ Ivan Antonyuk, Corey Johnson (“Plaintiff Johnson”), Alfred Terrille, Joseph Mann,

Leslie Leman, and Lawrence Sloane (collectively “Plaintiffs”), motion for a preliminary injunction

(“Motion”). See Dkt. No. 6. The preliminary injunction seeks, inter alia, to enjoin all of the named

Defendants from enforcing New York State’s Concealed Carry Improvement Act (“CCIA”).

        Plaintiff Johnson is the only plaintiff to allege a connection with the City – and that

connection is tenuous. Accordingly, Chief Cecile’s opposition deals squarely with Plaintiff

Johnson’s allegation, as asserted in his declaration (see Dkt. No. 1-3), that without the preliminary

injunction he will suffer various harms by SPD and Chief Cecile. Chief Cecile’s opposition will

only briefly address the constitutionality of the CCIA as counsel for the State Defendants will no

doubt present a compelling argument. For the following reasons, Chief Cecile respectfully submits

that Plaintiff Johnson has failed to meet his burden of demonstrating the need for the

“extraordinary remedy” of a preliminary injunction. As no other Plaintiff alleges a connection with

the City, Plaintiffs, as a whole, have therefore failed to establish their entitlement to pre-trial

injunctive relief.

                                          ARGUMENT

I.      PLAINTIFF JOHNSON CANNOT NOT MEET HIS BURDEN UNDER THE
        HEIGHTENED PRELIMINARY INJUNCTION STANDARD JUSTIFYING THE
        EXTRAORDINARY REMEDY.

        “A preliminary injunction is an extraordinary remedy never awarded as of right.” Winter

v. Nat’l Res. Def. Council, Inc., 555 U.S. 7, 24 (2008) (citing Munaf v. Geren, 553 U.S. 674, 689-



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90 (2008)); see also, Gen. Mills, Inc. v. Chobani, LLC, 2016 WL 356039, at *4 (N.D.N.Y. Jan. 29,

2016). Indeed, “[a] preliminary injunction is an extraordinary and drastic remedy, one that should

not be granted unless the movant, by a clear showing, carries the burden of persuasion.” Sussman

v. Crawford, 488 F.3d 136, 139-40 (2d Cir. 2007) (quoting Mazurek v. Armstrong, 520 U.S. 968,

972 (1997)) (emphasis in original).

         The Second Circuit has ruled that “[a] party seeking a preliminary injunction must

ordinarily establish (1) ‘irreparable harm’; (2) ‘either (a) a likelihood of success on the merits, or

(b) sufficiently serious questions going to the merits of its claims to make them fair ground for

litigation, plus a balance of the hardships tipping decidedly in favor of the moving party’; and (3)

‘that a preliminary injunction is in the public interest.’” New York ex rel. Schneiderman v. Actavis

PLC, 787 F.3d 638, 650 (2d Cir. 2015) (quoting Oneida Nation of New York v. Cuomo, 645 F.3d

154, 164 (2d Cir. 2011) (internal quotation marks omitted)).1 There is a heightened standard placed

upon the moving party seeking a preliminary injunction when either: “(i) an injunction is

‘mandatory,’ or (ii) the injunction ‘will provide the movant with substantially all the relief sought

and that relief cannot be undone even if the defendant prevails at a trial on the merits.’” Actavis

PLC, 787 F.3d at 650 (quoting Tom Doherty Assocs., Inc. v. Saban Entm’t, Inc., 60 F.3d 27, 33-

34 (2d Cir. 1995)); see also Antonyuk v. Bruen, 2022 WL 3999791, at *8 (N.D.N.Y. Aug. 31,

2022). “When either condition is met, the movant must show a ‘clear’ or ‘substantial’ likelihood

of success on the merits, . . . and make a ‘strong showing’ of irreparable harm, . . . in addition to

showing that the preliminary injunction is in the public interest.” Id.; see also, e.g., Risenhoover v.

Bayer Corp. Group Health Plan, 83 F. Supp. 2d 408, 410 (S.D.N.Y. 2000).


         1
           Courts in the Second Circuit have also employed a four-element test, interpreting the Supreme Court in
Winter, 555 U.S. at 20, as plainly requiring “a plaintiff who establishes likelihood of success to show that the balance
of hardships favors an injunction,” thus making (2)(a) and (2)(b), above, elements (2) and (3) respectively. Secured
Worldwide LLC v Kinney, 2015 WL 1514738, at *10, n. 4 (S.D.N.Y. Apr. 1, 2015).

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        Furthermore, when a party seeks to enjoin “‘governmental action taken in the public

interest pursuant to a statutory or regulatory scheme,’ that same party cannot rely on the ‘fair

ground for litigation’ alternative even if that party seeks to vindicate a sovereign or public interest.”

Oneida Nation of New York v. Cuomo, 645 F3d 154, 164 (2d Cir. 2011) (citing Monserrate v. N.Y.

State Senate, 599 F.3d 148, 154 (2d Cir. 2010)). Thus, as the Court is aware, “[w]hen, as here, the

preliminary injunction ‘will affect government action taken in the public interest pursuant to a

statutory or regulatory scheme,’ it ‘should be granted only if the moving party meets the more

rigorous likelihood-of-success standard.’” Cent. Rabbinical Congress of U.S. & Can. v New York

City Dept. of Health & Mental Hygiene, 763 F.3d 183, 192 (2d Cir. 2014) (citations omitted). This

standard extends to policies, as “governmental policies implemented through legislation or

regulations developed through presumptively reasoned democratic processes are entitled to a

higher degree of deference and should not be enjoined lightly.” Otoe-Missouria Tribe of Indians

v. New York State Dep’t of Fin. Servs., 769 F.3d 105 (2d Cir. 2014) (citing Able v. United States,

44 F.3d 128, 131 (2d Cir. 1995); see Dkt. No. 27, pp. 10-11.

        Thus, courts have cautioned that a preliminary injunction is such an extraordinary and

drastic remedy, it is “one that should not be granted unless the movant, by a clear showing, carries

the burden of persuasion.” Geller v. Cuomo, 476 F. Supp. 3d 1, 11 (S.D.N.Y. 2020) (emphasis in

original) (quoting Mazurek, 520 U.S. at 972). When a plaintiff moves for a preliminary injunction,

the plaintiff as movant “bears the burden of proof with regard to each prong of the preliminary

injunction test, [and] where a court concludes that a plaintiff fails to meet its burden with regard

to one prong, it is not necessary for the court to consider the other prongs. Doe #1 v. Syracuse

Univ., 2018 WL 3193199, at *2 (N.D.N.Y. June 28, 2018).




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        As set forth above, the heightened standards for the movants for a preliminary injunction

are applicable as to Plaintiffs’ claims, as their motion—and indeed the thrust of their Complaint—

squarely implicates government action in the statutory scheme of the CCIA. Moreover, here, the

preliminary injunctive relief that Plaintiffs seek in this motion, as evidenced in the conjunctive

title,2 substantially subsumes the totality of relief they seek in their Complaint.           With particular

attention to the limited allegations made by Plaintiff Johnson against Chief Cecile, for the reasons

stated below, Plaintiff Johnson has not met his burden of persuasion by means of a clear showing

that he is entitled to injunctive relief as to each and every prong.

II.     PLAINTIFF JOHNSON HAS NOT ADEQUATELY ASSERTED THAT HE WILL
        SUFFER IMMINENT AND REAL IRREPARABLE HARM

        “A showing of irreparable harm is ‘the single most important prerequisite for the issuance

of a preliminary injunction.’” Faiveley Transport Malmo AB v. Wabtec Corp., 559 F.3d 110, 118

(2d Cir. 2009) (quoting Rodriguez v. DeBuono, 175 F.3d 227, 234 (2d Cir. 1999)); see also

Demirayak v. City of New York, 746 Fed. App’x 49, 51 (2d Cir. 2018). “Speculative, remote or

future injury is not the province of injunctive relief.” Tolbert v. Koenigsmann, 2015 WL 7871344,

at *2 (N.D.N.Y. Dec. 4, 2015) (citing City of Los Angeles v. Lyons, 461 U.S. 95, 111-12 (1983)).

Rather, a plaintiff seeking to satisfy the irreparable harm requirement must demonstrate that

“absent a preliminary injunction they will suffer an injury that is neither remote nor speculative,

but actual and imminent, and one that cannot be remedied if a court waits until the end of trial to

resolve the harm.” Id. (emphasis supplied) (quoting Faiveley, 559 F.3d at 118).

        Plaintiff Johnson claims that he intends to violate the CCIA by bringing a concealed

weapon to various locations in New York State where concealed weapons are prohibited. See


        2
          In their Order to Show Cause, Plaintiffs state that they are seeking upon the same motion “a Temporary
Restraining Order (“TRO”) and Preliminary Injunction and/or Permanent Injunction (“PI”) and Order to Show Cause
why a TRO and PI should not issue.” Dkt. No. 6-3, p. 1.

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generally, Dkt. No. 1-3. Plaintiff Johnson’s alleged irreparable harm, at least as it relates to Chief

Cecile, is based solely on Chief Cecile’s attendance at a press conference that was then reported

in the local news. Id. at ¶23. Indeed, Chief Cecile is mentioned only once in Plaintiff Johnson’s

declaration. Id. The City itself is also notably absent from the declaration only appearing in

connection with the Rosamond Gifford Zoo (“Zoo”). Id. at 17. No other plaintiff claims a

connection with Chief Cecile or the City.

       The only assertion made by Plaintiff Johnson is based on conjecture that he faces the

possibility of a felony arrest or “having a firearm seized by police and a carry license revoked.”

See id. at ¶¶23-24. This conjecture falls far short of the required standard espoused by courts which

have specifically found that speculative or future injury does not satisfy a movant’s burden. See

Tolbert, 2015 WL 7871344, at *2.

       For the foregoing reasons, Plaintiff Johnson has failed to establish the imminent and

irreparable harm necessary to warrant the “extraordinary remedy” of a preliminary injunction.

       A.      The Potential Loss Of Plaintiff Johnson’s Property Can Be Remedied By
               Money Damages

       Based purely on a press conference that Chief Cecile attended, Plaintiff Johnson asserts

that a violation of the CCIA could result in “having [his] a firearm seized by police and [his] carry

license revoked.” Dkt. No. 1-3, ¶23. For the reasons stated below, Chief Cecile maintains that

Plaintiff Johnson’s request for emergency injunctive relief should be denied as purely speculative

and lacking a cognizable nexus with the City.

       The potential loss of a firearm or license does not justify the extraordinary relief of a

preliminary injunction relief. The law is clear that a preliminary injunction should be denied unless

“money damages cannot provide adequate compensation.” Kamerling v. Massanari, 295 F.3d 206,

214 (2d Cir. 2002); see also Tellock v. Davis, 84 F. App’x 109, 112 (2d Cir. 2003) (plaintiff “has

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not demonstrated that he will suffer an imminent and irreparable injury” where he “can be

compensated by money damages”). Plaintiff Johnson does allege, with any degree of specificity,

harm that can not be remedied by monetary damages. Thus, if Plaintiff Johnson’s firearm is

confiscated by SPD – an unlikely scenario given that Plaintiff Johnson has not identified any City

owned properties he intends to visit – that loss can be easily remedied by “money damages.”

       The same is true for any damages Plaintiff Johnson would sustain from the temporary loss

of his license pending the outcome of this matter. Plaintiff Johnson has not alleged that the

potential loss of his license could or would lead to further injury – the loss of the license itself is

the injury. Accordingly, Plaintiff has failed to establish that “money damages” would not remedy

the temporary loss of his license in the purely speculative event that it was revoked following

interaction with SPD.

       B.      Plaintiff Johnson Failed to Identify Locations He Intends to Visit Where SPD
               Would Likely Respond

       Plaintiff Johnson asserts that he intends to visit various locations within New York State

while carrying his concealed weapon. See generally Dkt. No. 1-3. However, for the reasons set

forth below, Plaintiff Johnson – who does not claim to be a resident of the City – has failed to

establish any of the locations he intends to visit are owned or controlled by the City. Plaintiff

Johnson has therefore failed to establish that he faces an imminent threat of arrest or harm by SPD

or, by extension, Chief Cecile.

               i.       Vague And Unidentified Locations Do Not Justify The Requested
                        Relief

       In addition to various named locations, discussed below, Plaintiff Johnson claims that he

“often take[s] extended snowmobile trips throughout public parks and roads,” and “go[es]

shopping at various locations in Onondaga County, such as gas stations, grocery stores, home



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improvement stores, big box stores, etc.” Dkt. No. 1-3, ¶¶12, 18. Plaintiff Johnson does not assert

that any of these parks, roads and/or shopping locations are within the City or otherwise under the

purview of Chief Cecile.

         The law is clear that vague allegations of a potential future harm are insufficient to warrant

the “extreme remedy” of a preliminary injunction. See Ulmer v. Corr. Officer Dibble, 2016 WL

5940912, at *2 (N.D.N.Y. Oct. 13, 2016) (“Preliminary injunction requests are ‘frequently denied

if the affidavits [in support of the motion] are too vague or conclusory to demonstrate a clear right

to relief under Rule 65.’”); Ali v. Wuchte, 2022 WL 3682303, at *2 (E.D.N.Y. Aug. 25, 2022)

(“Conclusory allegations lacking supporting evidence are insufficient to sustain a request for a

preliminary injunction.”). This is particularly true where, as here, Plaintiff Johnson fails to even

allege that the unidentified parks, roads and stores are within the City.

                  ii.      Locations Outside The City Do Not Justify The Requested Relief

         Plaintiff Johnson names the following locations within New York State where he intends

to visit and carry his concealed firearm: Mercer Park, Bowman Lake State Park, the New York

State Fairgrounds (“Fairgrounds”),3 Longhorn Steakhouse and the Zoo. See generally, Dkt. No. 1-

3. However, all locations, except the Zoo (discussed below), are outside the City limits.

         At the outset, Plaintiff Johnson does not claim that any of his named locations, except the

Zoo, are located within the City limits. Indeed, Plaintiff Johnson acknowledges that both Mercer

Park (Baldwinsville, New York) and Bowman Lake State Park (Oxford, New York) are in different

municipalities.4 Dkt. No. 1-3, ¶¶ 7, 9.


         3
            Plaintiff Johnson does not assert an imminent future intent to visit the Fairgrounds. See Dkt. No. 1-3, ¶13.
Instead, Plaintiff Johnson referenced the Fairgrounds as a location he would have visited had it not been for the
possibility of being searched and his concealed weapon discovered. Id. Nevertheless, Chief Cecile will address the
Fairgrounds as if Plaintiff Johnson intends to visit in the near future.
          4
            Plaintiff Johnson does not specifically state that Bowman Lake Sate Park is in Oxford, New York. However,
Plaintiff Johnson’s footnoted link directs the reader to the New York State Parks webpage which identifies the location
of Bowman Lake State Park as Oxford, New York. Dkt. No. 1-3, p. 3, n.1; Declaration of Todd M. Long, Esq., ¶12.

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        As for other the locations, Plaintiff Johnson does not identify the address of the Longhorn

Steakhouse he intends to visit. Dkt. No. 1-3, ¶11. However, a review of the website maintained by

Longhorn Steakhouse reveals two locations in Onondaga County (“County”), neither of which is

in the City. See Exhibit 9.5

        The same is true for the New York State Fairgrounds (“Fairgrounds”).6 Although the

Fairgrounds has a Syracuse mailing address, it is not located within the City, but, upon information

and belief, within the Town of Geddes. This fact is established by the attached City Zoning Map.

See Exhibit 7. The Zoning Map depicts the relevant portion of the western edge of the City. Id.

The City’s western edge lies east of the Fairgrounds.7 Also, as the name suggests, presumably the

New York State Fairgrounds, is owned and controlled by New York State.

        Accordingly, whether Plaintiff Johnson may suffer some speculative harm while in a

different jurisdiction with non-SPD police officers responding does not warrant an injunction

against Chief Cecile.

                 iii.     Rosamond Gifford Zoo Is Not Owned Or Controlled By The City

        As for the final location, Plaintiff Johnson assumes that the Zoo is a City-owned park

because it is located within the City. However, as the Commissioner of the Department of Parks,

Recreation & Youth Programs explains, “[n]ot all parks and public spaces within City limits are

owned, controlled, or operated by the City.” Affirmation of Commissioner Julie LaFave, ¶6. The

Zoo is one such example. Id. at ¶7. Although the Zoo is within the confines of the City, the

Commissioner believes that it is owned and controlled by the County. Id. at ¶8.



        5
          All Exhibits are attached to the Declaration of Todd M. Long, Esq., dated October 13, 2022.
        6
          Importantly, Plaintiff Johnson indicates that he previously did not attend the New York State Fair in late
August of 2022, and he articulates no concretized plans to attend the 2023 New York State Fair (as the 2022 New
York State Fair has ended).
        7
          Insofar as is necessary, this Court may take judicial notice of maps. See Davis v. City of Rochester, 2022
WL 6885334, at *8 (W.D.N.Y. Oct. 12, 2022).

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        This fact is further established by publicly available County tax and ownership documents

(Exhibits 1, 2) as well as a County website identifying the Zoo as a County Park (Exhibit 3).

Unsurprisingly, the law enforcement officers at County Parks are County Park Rangers. See

Exhibit 4. Notably, Plaintiff Johnson does not claim that he has observed SPD officers during any

of his visits to the Zoo.

        Chief Cecile is not suggesting that SPD would decline to respond to an emergency at the

Zoo.8 Nor is Chief Cecile suggesting that County Park Rangers would be wrong to arrest an

individual for a CCIA violation at the Zoo. Chief Cecile is merely pointing out that the Zoo is not

owned or controlled by the City. Thus, if someone asserts a complaint against Plaintiff Johnson

while he is visiting the Zoo,9 County Park Rangers may be the likely initial responding agency (if

at all) and not SPD. The County’s ownership and presence of their own specialized police force

for County Parks, renders it all the more speculative that Plaintiff Johnson would suffer any harm

by SPD while visiting the Zoo.

        C.       Chief Cecile’s Comment That Enforcement of CCIA Will be “Complaint
                 Driven” Does Not Establish an “Actual And Imminent” Harm

        As previously noted, it is Plaintiffs’ burden to establish that “absent a preliminary

injunction they will suffer an injury that is neither remote nor speculative, but actual and

imminent.” Tolbert, 2015 WL 7871344, at *2 (N.D.N.Y. 2015) (quoting Faiveley, 559 F.3d at

118); see also Does 1 - 10 v. Suffolk Cnty., New York, 2022 WL 2678876, at *3 n.2 (2d Cir. July




          8
            With the Zoo being located within the City of Syracuse, Chief Cecile does not doubt that SPD has
jurisdiction to make arrests, and would indeed respond to high priority calls or crimes in progress, but with another
government entity having ownership and control of the Zoo and its own designated park police force, it decreases the
likelihood of an SPD response to the Zoo as opposed to other non-County controlled properties within the City of
Syracuse. And so further pushing Plaintiff Johnson’s inferences into the deep well of speculation.
          9
            As discussed below, SPD’s enforcement of CCIA is “complaint driven.”

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12, 2022). However, Plaintiff Johnson’s threat of future harm by Chief Cecile is pure speculation

and conjecture.

       The Complaint, Plaintiff Johnson’s declaration and Plaintiffs’ motion for pre-trial

injunctive relief, all reference the same press conference news article in support of Plaintiffs’

overarching argument that Chief Cecile will cause irreparable harm. Dkt. No. 1, ¶14; Dkt. No. 1-

3, ¶23; Dkt. No. 6-1, pp. 6-7. However, respectfully, Chief Cecile’s comments at the press

conference, as documented in the news article, fail to establish that Plaintiff Johnson faces

anything beyond a “remote,” “future” or “speculative” injury. See generally, Exhibit 6.

       According to the article, “[l]aw enforcement won’t be proactively enforcing the new law

by trying to catch legal gun-owners in prohibited locations, Syracuse Police Chief Joseph Cecile

said. ‘It will be complaint-driven,’ the chief said.’” Exhibit 6. Thus, to succeed on this motion

against Chief Cecile, Plaintiff Johnson must plausibly allege that he intends to visit a location

where someone would “complain” about his CCIA violation to SPD. However, Plaintiff Johnson

has not even set forth a conclusory allegation to that effect, let alone sufficient facts on which this

Court could reasonably find that a “complaint” would reach SPD.

       Indeed, Plaintiff Johnson does not even allege he intends to visit a City location where he

could be subject to a search. Rather, Plaintiff Johnson claimed that he previously avoided the

Fairgrounds for fear that the “Bag Check Areas” and potential scanning devices would discover

his concealed weapon. Dkt. No. 1-3, ¶13. Plaintiff Johnson does not assert he intends to visit the

Fairgrounds before the conclusion of this lawsuit such that a preliminary injunction would be

necessary. Also, again, the Fairgrounds are not within the City meaning that any “complaint” of a

CCIA violation would likely be transmitted to the County Sherriff or New York State Police and




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not to SPD. Notably, Plaintiff Johnson has not alleged that he was subject to a search on any of his

visits to the Zoo, which is the sole identified location within the City.

         Plaintiff also identified two prior incidents where his fishing license was checked by a New

York State Environmental Conservation Officer. Dkt. No. 1-3, ¶24. According to Plaintiff

Johnson, if, in the future, “an officer saw a bulge from my concealed firearm while [he] was

retrieving my fishing license and driver’s license from my wallet, [he] could be arrested charged

with a felony under the state’s clearly-announced ‘zero tolerance’ policy.” Id. Notwithstanding the

speculative nature of this allegation, Plaintiff Johnson claims that the “interactions [occurred]

along the Erie Canal in Camillus,” id., which is a different municipality than the City. Thus,

assuming arguendo that Plaintiff Johnson was arrested for a CCIA violation because he returned

to Camillus, an Environmental Conservation Officer requested his license and “saw a bulge,” that

arrest could not be attributed to SPD or Chief Cecile.

         Also, the likely outcome of a CCIA violation in the County is, as Plaintiff Johnson

acknowledges, the seizure of his firearm and the revocation of his carry license. Exhibit 6; Dkt.

No. 1-3, ¶23. Injuries for which money damages are an adequate remedy. See supra, Argument

II.A.

         In sum, Plaintiff is requesting a preliminary injunction because he could visit an

unidentified location in the City where someone could notice his concealed weapon who could

complain to SPD which could result in his arrest. Respectfully, this purely speculative scenario,

fails to meet the very high standard for imposition of a preliminary injunction.

III.     PLAINTIFF JOHNSON CANNOT SHOW THAT HE HAS A LIKELIHOOD OF
         SUCCESS ON THE MERITS.

         As the Court aptly laid forth in its Decision and Temporary Restraining Order, with regard

to the first part of the “likelihood of success” element, this heightened standard places the burden

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on Plaintiffs requiring “a demonstration of a ‘better than fifty percent’ chance of success.” Dkt.

No. 27, p. 8 (quoting Abdul Wali v. Coughlin, 754 F.2d 1015, 1025 (2d Cir. 1985), disapproved

on other grounds, O’Lone v. Estate of Shabazz, 482 U.S. 342, 349, n.2 (1987)). Moreover, a party

seeking a preliminary injunction must satisfy each factor of the analysis, and where a court finds

that the plaintiff is unable to clearly show a likelihood of success on their constitutional claims,

the court need not consider the remaining preliminary injunction factors. Miller v. Smith, 2021 WL

4222981, at *10 (E.D.N.Y. Sept. 16, 2021) (internal citation omitted) (citing Pope v. County of

Albany, 687 F3d 565, 570, n.3 (2d Cir. 2012) (“Because this appeal fails on the likelihood of

success factor, we need not consider the balance of equities further.”); see, e.g. Oneida Nation,

645 F.3d at 164 (where movant failed to satisfy its burden of establishing a likelihood of success

on the merits, “there is no need to address the other prongs of the [preliminary injunction] analysis).

       A.      Plaintiff Johnson Has Failed to Allege a Cognizable Nexus with the City or
               Chief Cecile

       As previously stated, Plaintiff Johnson has not identified any locations in the City

controlled by Chief Cecile where he intends to violate the CCIA by bringing a concealed weapon.

See supra, Argument II. Nor do Chief Cecile’s statements at the press conference establish a

likeliness that Plaintiff Johnson’s rights will be violated. See supra, Argument II. Accordingly,

Plaintiff Johnson has not demonstrated any harm, imminent, irreparable, or otherwise, that would

warrant success on the merits.

       B.      Plaintiff Johnson Cannot Establish That He Has Standing To Bring An Action
               Against Chief Cecile

       Generally, “[s]tanding is a federal jurisdictional question ‘determining the power of the

court to entertain the suit.’” Cacchillo v. Insmed, Inc., 638 F.3d 401, 404 (2d Cir. 2011) (quoting

Carver v. City of New York, 621 F.3d 221, 225 (2d Cir. 2010)). In particular, “a plaintiff must



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demonstrate standing for each claim and form of relief sought.” Cacchillo, 638 F.3d at 404

(quoting Baur v. Veneman, 352 F.3d 625, 642, n. 15 (2d Cir. 2003)). “Thus, in order to seek

injunctive relief, a plaintiff must show the three familiar elements of standing: injury in fact,

causation, and redressability.” Cacchillo, 638 F.3d at 404 (quoting Summers v. Earth Island Inst.,

555 U.S. 488 (2009)) (emphasis supplied, citation omitted). Stated more specifically, to establish

constitutional standing when seeking such injunctive relief a plaintiff must allege: (1) he has

suffered an injury in fact which is “concrete and particularized” and “actual or imminent, not

conjectural or hypothetical,” (2) there is “a causal connection between the injury and the conduct

complained of,” and (3) it is likely “that the injury will be redressed by a favorable decision.” Does

1 – 10, 2022 WL 2678876, at *2 (quoting Lujan v. Defs. of Wildlife, 504 U.S. 555, 560-61 (1992)).

         A plaintiff's burden to demonstrate standing increases over the course of litigation.

Cacchillo, 638 F.3d at 404 (citing Lujan, 504 U.S. at 561). “[E]ach element [of standing] must be

supported in the same way as any other matter on which the plaintiff bears the burden of proof,

i.e., with the manner and degree of evidence required at the successive stages of the litigation.” Id.

The plaintiff “bears the burden of showing that he has standing for each type of relief sought,”

including injunctive relief. Does 1 - 10, 2022 WL 2678876, at *2 (quoting Summers, 555 U.S. at

493). When a preliminary injunction is sought, a plaintiff’s burden to demonstrate standing

“will normally be no less than that required on a motion for summary judgment.10” Cacchillo,


         10
             As this Court has written, the standard for granting summary judgment is only if “the movant shows that
there is no genuine dispute as to any material fact and that the movant is entitled to a judgment as a matter of law.”
West v. Harkness, 9:17-CV-0621 (GTS/DJS), 2021 WL 4289515, at *10 (N.D.N.Y. Sept. 21, 2021), reconsideration
denied, 2021 WL 5321958 (N.D.N.Y. Nov. 16, 2021), and appeal withdrawn, 21-2679, 2022 WL 1224721 (2d Cir
Jan. 21, 2022) (quoting Fed. R. Civ. P. 56(a). A dispute of fact is “genuine” if “the [record] evidence is such that a
reasonable jury could return a verdict for the [non-movant].” Id. (quoting Anderson v. Liberty Lobby, Inc., 477 U.S.
242, 248, 106 S.Ct. 2505, 91 L.Ed.2d 202 (1986)). As for the materiality requirement, a dispute of fact is “material”
if it “might affect the outcome of the suit under the governing law .... Factual disputes that are irrelevant or unnecessary
will not be counted.” Id. In determining whether a genuine issue of material fact exists, the Court must resolve all
ambiguities and draw all reasonable inferences against the movant. Id. (quoting Anderson, 477 U.S. at 255. In addition,
“[the movant] bears the initial responsibility of informing the district court of the basis for its motion, and identifying

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638 F.3d at 404 (emphasis supplied) (quoting Lujan v. Nat'l Wildlife Fed’n (Lujan I), 497 U.S.

871, 907, n. 8 (1990)).

         Accordingly, to establish standing for a preliminary injunction, a plaintiff cannot “rest on

such ‘mere allegations,’ [as would be appropriate at the pleading stage] but must ‘set forth’ by

affidavit or other evidence ‘specific facts,’ which for purposes of the summary judgment motion

will be taken to be true.” Cacchillo, 638 F.3d at 404 (quoting Lujan, 504 U.S. at 561).

         With respect to pre-enforcement challenges, such as has been alleged here by Plaintiff

Johnson, they are “cognizable under Article III.” Does 1 - 10, 2022 WL 2678876, at *2 (quoting

Cayuga Nation v. Tanner, 824 F.3d 321, 331 (2d Cir. 2016)). “Determining whether a plaintiff has

alleged a ‘credible threat sufficient to satisfy the imminence requirement of injury in fact

necessarily depends on the particular circumstances at issue.’” Id. (quoting Knife Rts., Inc. v.

Vance, 802 F.3d 377, 384 (2d Cir. 2015)). To establish standing for a pre-enforcement challenge,

an “allegation of future injury will be sufficient only if ‘the threatened injury is certainly

impending, or there is a substantial risk that the harm will occur.’” Id. (emphasis supplied)

(quoting Dorce v. City of New York, 2 F.4th 82, 95 (2d Cir. 2021)). “Fears of prosecution may not,

for instance, be ‘imaginary or speculative.’” Id. (quoting Vance, 802 F.3d at 384). “Further, the

imminence requirement is not evident where plaintiffs do not claim that they have ever been

threatened with prosecution, that a prosecution is likely, or even that a prosecution is remotely

possible.” Id. (internal quotations omitted); see also Picard v. Magliano, 42 F.4th 89, 98 (2d Cir.

2022) (quoting Cayuga Nation, 824 F.3d at 331) (holding that “‘[t]he identification of a credible



those portions of the ... [record] which it believes demonstrate[s] the absence of any genuine issue of material fact.”
Id. (quoting Celotex v. Catrett, 477 U.S. 317, 323-24 (1986)). However, when the movant has met its initial burden,
the non-movant must come forward with specific facts showing a genuine issue of material fact for trial. Id. (citing
Fed. R. Civ. P. 56(a), (c), (e)).



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threat sufficient to satisfy the imminence requirement . . . necessarily depends on the particular

circumstances at issue,” and “will not be found where plaintiffs do not claim that they have ever

been threatened with prosecution, that prosecution is likely, or even that a prosecution is remotely

possible.’”).

       Finally, to show that the plaintiff “inten[ds] to engage in a course of conduct arguably

affected with a constitutional interest,” the plaintiff is not required “to confess that [they] will in

fact violate the law.” Susan B. Anthony List v. Driehaus, 573 U.S. 149, 163 (2014) (citing Babbitt

v. United Farm Workers Nat. Union, 442 U.S. 289, 301 (1979)). However, “‘some day’ intentions

– without any description of concrete plans, or indeed even any specification of when the some

day will be – do not support a finding of the ‘actual or imminent’ injury that our cases require.”

Lujan, 504 U.S. at 564 (emphasis in original); see Frey v. Bruen, 2022 WL 522478, at *4 (S.D.N.Y.

Feb. 22, 2022) (court finding no standing at preliminary injunction stage in firearms case based on

“no concrete plans to violate the New York Penal Laws” and plaintiffs’ failure to allege “a credible

threat of prosecution”).

       In Frey v. Bruen, the plaintiffs were licensed gun owners who sought to remove New York

State restrictions on their concealed carry permits, receive a license to carry concealed in New

York City, and openly carry handguns throughout the New York state. See id., 2022 WL 522478,

at *2-3 (S.D.N.Y. Feb. 22, 2022)). In denying their request for a preliminary injunction, the district

court held that the plaintiffs lacked standing because they had not alleged an actual injury or

imminent threat of prosecution. Id. at *5-6. The plaintiffs’ claims that they “intend[ed]” to violate

the limitations on their licenses was insufficient. Id. at *5 (citing Lujan, 504 U.S. at 564). The

plaintiffs also failed to allege a credible threat of prosecution to themselves individually because

they did not establish “any facts showing that they have been prosecuted in the past or have been



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threatened with enforcement of any of the statutes they are challenging.” Frey, 2022 WL 522478,

at *5. The mere existence of a law under which the plaintiffs could theoretically have been

prosecuted was insufficient to grant them standing in the absence of actual enforcement or

threat of prosecution. Id. at *5 (emphasis supplied) (citing Sibley v. Watches, 501 F. Supp. 3d 210,

218 (W.D.N.Y. Nov. 16, 2020)).

       The recent decision of the Second Circuit Court of Appeals in Does 1 - 10 v. Suffolk County,

New York, is even more illustrative as to Plaintiff Johnson’s lack of standing. See id., 2022 WL

2678876, at *1. The plaintiffs were each purchasers of a Delta Level Defense CT4-2A firearm.

See id., at *1. The plaintiffs had received letters from the Suffolk County Police Department which

informed them that possession of said firearm was unlawful under New York law, requested that

the firearm be presented to police, and stated that they could be subject to arrest and/or prosecution

for failure to comply. Id. The district court dismissed the plaintiffs’ complaint and denied their

request for a preliminary injunction for lack of standing. Id. at *2. In affirming the district court’s

dismissal, the Second Circuit held that the plaintiffs had not suffered an injury in fact because they

had not been arrested or had the firearms at issue confiscated and therefore had not established that

their prosecution was likely. Id. at *3.

       Here, there is only but a mere allegation of a future injury as to Plaintiff Johnson within

the Plaintiffs’ collective Complaint, which fails to meet the standard espoused by the Supreme

Court for the summary judgment standard set forth in a motion for a preliminary injunction. See

Dkt. No. 1, ¶¶ 158-159. Plaintiff Johnson’s sworn statement, his only demonstrable evidence, is

bereft of any specific facts as to any actual damages suffered or risked by going to the Zoo—the

only location alleged with any (barely) cognizable nexus to Chief Cecile. See, generally, Dkt. No.

1-3. Instead, Plaintiff Johnson has one paragraph devoted to his anticipatory sojourn to the Zoo



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and one paragraph as to his understanding of Chief Cecile’s aforementioned statement in a news

article covering a press conference. See, generally, Exhibit 6. Neither of these declaratory

statements pass this entry level element in the test for standing in a preliminary injunction.

         In paragraph “17” of his declaration, Plaintiff asserts that “CCIA makes it a crime to

possess a firearm at a zoo, and that he is going to “visit the zoo this fall as well, at least once,

within the next 90 days . . . [and] . . . intend[s] to carry” his firearm there. Dkt. No. 1-3, ¶ 17.

Thereafter in paragraph “20,” Plaintiff Johnson avers in a speculatory fashion—based on a press

conference—that Chief Cecile’s mere presence11 at a press conference discussing CCIA would

lead him to conclusorily allege that “[i]n other words, the top law enforcement officials where I

live have expressed a specific intent to enforce the provisions of the CCIA against violators, which

might include having a firearm seized by police and a carry license revoked.” To be clear, Plaintiff

Johnson does not affirm that it was any statement made by Chief Cecile to the general public that

was “concrete and particularized” regarding the imminence of anyone’s arrest, let alone that

Plaintiff Johnson himself would actually or imminently be harmed (by arrest or other means) if he

went to the Zoo with his concealed firearm. See Dkt. No. 1-3, ¶ 23.

         Even assuming the mere allegations pleaded in the Complaint that Plaintiff Johnson joined

(but he himself did not verify), it is completely speculative for Plaintiff Johnson to assert that his

injury in-fact would be from Chief Cecile solely based on Chief Cecile’s statement that he “would

enforce the CCIA on a ‘complaint driven’ basis.” Dkt. No. 1, ¶ 14.12 Thus, like the plaintiffs in

Frey v. Bruen, Plaintiff Johnson has not articulated actual injury or imminent threat of prosecution

causally descending from Chief Cecile. Thus, there is a causal chasm that Plaintiff Johnson cannot


          11
             Although in the Complaint, Plaintiffs allege appropriately that Chief Cecile did make a statement at the
same press conference.
          12
             This is the only paragraph in the entirety of the Complaint that Chief Cecile is individually identified. He
is not identified in any of the sections specific to Plaintiff Johnson, i.e., Dkt. No. 1, ¶¶ 149-161.

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close. Instead, Plaintiff Johnson relies on the mere existence of the CCIA and a brief generic

statement by Chief Cecile to infer theoretical prosecution, which is patently insufficient.

       Moreover, Plaintiff Johnson’s assertion that he intends to violate the CCIA by going to the

Zoo with his firearm is itself insufficient. The Second Circuit in Does 1 - 10 v. Suffolk County

found that there was no standing for plaintiffs where the Suffolk County Police Department sent

directed threats of taking action to individual firearm owners by sending letters that requested the

firearm be presented to police and stating that they could be subject to arrest and/or prosecution

for failure to comply. Here, Plaintiff Johnson merely relies on his inference from the one statement

from Chief Cecile that any enforcement would be “complaint driven.” Much like the plaintiffs in

Does 1 - 10 v. Suffolk County, Plaintiff Johnson has failed to establish standing.

       Thus, because Plaintiff Johnson has not established he has been threatened with certain

confiscation of his firearm, revocation of his license, or prosecution pursuant to the CCIA if he

goes to the Zoo with his concealed firearm. Nor has he demonstrated that the initiation of an arrest

on the County-owned property will be by an SPD officer pursuant to the dictates of Chief Cecile.

As such, Plaintiff Johnson does not have standing to bring this pre-enforcement action against

Chief Cecile. Simply stated, there has been no demonstrable proof offered by Plaintiff Johnson

that there is an impending injury, or a substantial risk that the harm will occur, from SPD if Plaintiff

Johnson goes to the Zoo with his gun. Accordingly, Plaintiff Johnson has not demonstrated a

likelihood of success on the merits.

       C.       Plaintiff Johnson Failed To Meet His Burden That The Rosamond Gifford Zoo
                Is Not Also A Place Owned Or Under The Control Of Local Government, For
                The Purpose Of Government Administration

       As the Court ruled in its Decision and Temporary Restraining Order,

                        the Court need not collect in a footnote citations to the many
                historical analogues restraining the right to carry a firearm in “any

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                  place owned or under the control of federal, state or local
                  government, for the purpose of government administration,
                  including courts” as stated in paragraph “2(a)” of Section 4. This is
                  because the Supreme Court has already expressly acknowledged the
                  permissibility of these restrictions. See NYSRPA, 142 S. Ct. 2133
                  (“[T]he historical record yields relatively few 18th- and 19th-
                  century ‘sensitive places’ where weapons were altogether prohibited
                  . . . [other than, for example, legislative assemblies, polling places,
                  and courthouses].”) (emphasis added); Heller, 554 U.S. at 626
                  (“[N]othing in our opinion should be taken to cast doubt on
                  longstanding prohibitions on . . . laws forbidding the carrying of
                  firearms in sensitive places such as . . . government buildings . . .
                  .”). As a result, this provision may stand.

Dkt. No. 27, pp. 31-32. As such, New York State’s regulation of the concealed carry of a firearm

by a civilian in government buildings; namely “2(a)” of Section 4 of the CCIA survived this

Court’s initial review for TRO purposes. Thus, based on the historical analogues that have been

presented to the Court so far, the Court has found “it impermissible for New York State to restrict

concealed carry” at, inter alia, zoos “(as stated in subsection “2(d)” of the CCIA).” Dkt. No. 27,

p. 43.

         Notwithstanding, it is respectfully submitted that the Zoo may in fact be a location of

historical analog entitled to protection as a “sensitive location.”

         As the Court is abundantly aware, by dispensing with a judicial “means-end test such as

strict or intermediate scrutiny” in NYSRPA v. Bruen,13 the remaining analysis—as this Court

wrote—is reliant upon judicial reasoning by means of seeking a historical analogue to the site of

the government’s Second Amendment limitation or restriction:

                         “[T]his historical inquiry . . . will often involve reasoning by
                  analogy . . . .” NYSRPA, 142 S. Ct. at 2132. Such “analogical
                  reasoning requires only that the government identify a well-

          13
             Prior to NYSPA v. Bruen, courts have found New York's licensing regime to pass constitutional muster
under the appropriate standard, namely, intermediate scrutiny. Napolitano v. Ryder, 2019 WL 365710, at *8 (E.D.N.Y.
Jan. 30, 2019) (citing Avitabile v. Beach, 277 F. Supp. 3d 326, 334 (N.D.N.Y. 2017)) (“[D]istrict courts in this Circuit
have continually chosen to apply ‘intermediate scrutiny’ to general challenges under the Second Amendment, even
when reviewing statutes or laws that may restrict the possession of [weapons] in the home.”).

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                 established and representative historical analogue, not a historical
                 twin. So even if a modern-day regulation is not a dead ringer for
                 historical precursors, it still may be analogous enough to pass
                 constitutional muster.”

Dkt. No. 27, p. 13. The question before the Court is whether Plaintiff Johnson has established that

the Zoo falls outside of the categories of sensitive locations with historical analog to 1791.

       Upon information, the Zoo’s use and purpose falls under a variety of other categories that

have been well-established from Heller and its progeny.

       First, the Zoo is owned and operated primarily by a government entity: the County. See,

generally, LaFave Decl.; see also Exhibits 1, 2, and 3. Moreover, upon information and belief,

the Zoo maintains on its campus buildings with administrative offices for various staff members

all “owned or under the control of . . . local government, for the purpose of government

administration.” Dkt. No. 27, p. 31 (quoting the CCIA) (citing cases).

       Second, the Rosamond Gifford Zoo is also used as an educational facility, such facilities

previously recognized as a sensitive location by the Court. In April of 2022 the Zoo opened a new

Animal Health Center at the Rosamond Gifford Zoo.14 “The new 20,000 square-foot facility

provides world-class health care from prenatal to geriatric, to every animal at the zoo and expands

the zoo’s role as a teaching hospital for Cornell University College of Veterinary Medicine’s

zoological medicine program.”15 Given this, Plaintiff Johnson is unlikely to be successful on the

merits as this Court has acknowledged the historical analog in New York State to restrict concealed

carry in “ ‘any building or grounds, owned or leased, of any educational institutions, colleges

and universities . . .’ (as contained in paragraph “2(m)” of Section 4 [of the CCIA]).” See Dkt. 27,

p. 36 (quoting the CCIA) (citing cases), or in any governmental administrative buildings.



       14
            See https://www.rosamondgiffordzoo.org/experience/animal-health-center/.
       15
            Id.

                                                      20
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         An additional issue that seemingly has not been addressed by the courts, is whether or not

any judicial analysis exists under the historical analog process set forth in NYSPA v. Bruen as to

the varied and mixed uses of purported sensitive locations; or a judicial constitutional analysis

equivalent of a forum analysis to determine if such “hybrid” use or purpose locations can to some

degree be regulated by a statutory scheme for the purposes of regulating the right to carry a

concealed weapon under the Second Amendment (i.e., locations that have both portions with

elements of historical analog and others not).

         The Zoo—in whole or in part—constitutes either a “sensitive location” with a historical

analog as a government administrative location or an educational facility. Under either scenario,

Plaintiff Johnson is unlikely to be successful on the merits.

         D.       Plaintiffs Have Not Established A Likelihood Of Success On The Merits As To
                  Count I Of The Complaint

         As previously stated, the focus of Chief Cecile’s opposition is to demonstrate Plaintiffs’

failure to justify the “extraordinary remedy” of a preliminary injunction against Chief Cecile or

the City. Chief Cecile will not directly here address Plaintiffs’ constitutional arguments because,

even if compelling, a likelihood of success on the merits satisfies only one of the requirements for

pre-trial injunctive relief. Chief Cecile maintains that Plaintiffs have not met the remaining

requirements – particularly establishing an imminent and irreparable harm. Furthermore, the State

Defendants are better positioned to argue the constitutionality of the CCIA. Nevertheless, Chief

Cecile respectfully submits Plaintiffs have failed to establish a likelihood of success on the merits

on Count I of the Complaint as the CCIA’s provisions are constitutional.16 See Libertarian Party



          16
             Counts II and III of the Complaint assert causes of action against “All Defendants” for allegedly violating
Plaintiffs’ rights in the concealed carry permitting process. See Dkt. No. 1, ¶¶246-65. However, none of the individual
Plaintiffs assert that either Chief Cecile or the City processes applications for concealed carry permits. Nor do any of
the Plaintiffs claim that their concealed carry applications were somehow impeded by Chief Cecile or the City.

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of Erie Cnty. v. Cuomo, 970 F.3d 106 (2d Cir. 2020); Kanter v. Barr, 919 F.3d 437 (7th Cir. 2019);

Ward v. Rock Against Racism, 491 U.S. 781 (1989); NYSRPA, 213 L. Ed. 2d at 387.

IV.     BALANCE OF EQUITIES AND                              PUBLIC         INTEREST           DISFAVOR          A
        PRELIMINARY INJUNCTION

        As with all requirements for a preliminary injunction, Plaintiffs bear the burden of

demonstrating that the balance of equities and the public interest weighs in their favor. See We The

Patriots USA, Inc. v. Hochul, 17 F.4th 266, 295 (2d Cir. 2021), opinion clarified, 17 F.4th 368 (2d

Cir. 2021) (noting that “[w]hen the government is a party to the suit, our inquiries into the public

interest and the balance of the equities merge”). However, Plaintiffs have failed to satisfy this

burden as to Chief Cecile.

        As previously stated, Plaintiff Johnson is the only plaintiff to assert a connection with the

City. Plaintiff Johnson, however, does not claim to be a resident of the City or even a frequent

visitor. Indeed, Plaintiff Johnson identifies the Zoo as the sole location in the City that he intends

to visit at some point in the future. Again, the Zoo is not City owned rendering it unlikely that SPD

would be involved in any alleged violation of the CCIA at the Zoo.

        Respectfully, Plaintiff Johnson’s lack of standing, tenuous City connection and the

speculative future harm he may incur at a County-owned facility in the City are dwarfed by the

City’s moral imperative to protect its citizens – a moral imperative that has been impeded by ever-

changing gun laws. A preliminary injunction would only add to the confusion and further hinder

Chief Cecile’s compelling need to protect the City’s residents.




Accordingly, Plaintiffs have not established a nexus with the City or Chief Cecile such that this Court could find a
likelihood of success on the merits as to Counts II or III.

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                                              CONCLUSION

       For the reasons set forth above Defendants respectfully request this Court deny Plaintiff’s

Motion for a Preliminary Injunction, in its entirety, with prejudice, and grant such other and further

relief the Court deems just and proper.


Dated: October 13, 2022                               SUSAN R. KATZOFF, ESQ.
                                                      CORPORATION COUNSEL-CITY OF SYRACUSE


                                               By:    /S/ Todd M. Long
                                                      Todd M. Long, Esq. (Bar No. 519301)
                                                      Danielle R. Smith, Esq. (Bar No. 517775)
                                                      Attorneys for Defendant Chief Cecile
                                                      300 City Hall
                                                      233 East Washington Street
                                                      Syracuse, New York 13202
                                                      Tel. No. 315-448-8400
                                                      Fax No. 315-448-8381
                                                      Email: tlong@syrgov.net
                                                      Email: dsmith@syrgov.net




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